                                  Case 23-10054-KKS                  Doc 1        Filed 03/21/23           Page 1 of 10


Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Big Daddy Guns 2 Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  3558 SW College Road
                                  Suite 400                                                       7600 NW 5th Place
                                  Ocala, FL 34474                                                 Gainesville, FL 32607
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Marion                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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                                   Case 23-10054-KKS                    Doc 1         Filed 03/21/23              Page 2 of 10
Debtor    Big Daddy Guns 2 Inc.                                                                        Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                                       Case 23-10054-KKS                       Doc 1       Filed 03/21/23              Page 3 of 10
Debtor    Big Daddy Guns 2 Inc.                                                                           Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor      See Attachment                                                Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                            Case 23-10054-KKS                  Doc 1       Filed 03/21/23          Page 4 of 10
Debtor   Big Daddy Guns 2 Inc.                                                          Case number (if known)
         Name

                                 $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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Debtor    Big Daddy Guns 2 Inc.                                                                    Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      March 21, 2023
                                                  MM / DD / YYYY


                             X   /s/ Anthony W. McKnight                                                  Anthony W. McKnight
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Jose I Moreno                                                         Date March 21, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Jose I Moreno 0659460
                                 Printed name

                                 Jose I Moreno PA
                                 Firm name

                                 240 NW 76th Drive
                                 Suite D
                                 Gainesville, FL 32607
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     352-332-4422                  Email address      jimoreno@bellsouth.net

                                 0659460 FL
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
                                  Case 23-10054-KKS                Doc 1       Filed 03/21/23             Page 6 of 10
Debtor     Big Daddy Guns 2 Inc.                                                             Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF FLORIDA

Case number (if known)                                                    Chapter     11
                                                                                                                          Check if this an
                                                                                                                          amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     Big Daddy Inc                                                            Relationship to you               Affilate
District   Northern District of Florida               When     3/21/23              Case number, if known             23-10053-KKS
Debtor     OTPYG Inc                                                                Relationship to you               Affiliate
District   Northern District of Florida               When     11/22/22             Case number, if known             22-10186-KKS




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                      page 6
                                  Case 23-10054-KKS                    Doc 1        Filed 03/21/23                Page 7 of 10


 Fill in this information to identify the case:
 Debtor name Big Daddy Guns 2 Inc.
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF                                                                                Check if this is an
                                                FLORIDA
 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 ADt Security                                                                                                 $2,843.64                       $0.00                $2,843.64
 Services
 P.O. Box 317878
 15250
 Amchar Wholesale                                                                                           $15,594.44                        $0.00              $15,594.44
 Inc.
 Bldg 1
 P.O. Box 936676
 Atlanta, GA 31193
 Citarella Pest                                                                                                  $303.00                      $0.00                  $303.00
 P.O. Box 3308
 Spring Hill, FL 34611
 Cox Auto Pay                                                                                                    $578.04                      $0.00                  $578.04
 P.O. Box 3308
 Spring Hill, FL 34611
 Florida Department                                                                                           $2,028.68                       $0.00                $2,028.68
 of Revenue
 Account
 Management
 Mail Stop 1-5730
 5050 W. Tennessee
 Street
 Tallahassee, FL
 32399
 MEGED Funding                                                                 Disputed                 $3,319,156.91                         $0.00               Unknown
 Group Corp.
 12 Zeck Ct
 Suffern, NY 10901
 Redstone Advance                                    Inventory held by         Disputed                 $4,400,001.00                         $0.00          $4,237,982.93
 Inc.                                                Redstone
 c/o: Todd Feldman                                   Advance Inc
 Esq.
 3050 Biscayne Blvd.
 Suite 904
 Miami, FL 33137




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
                                  Case 23-10054-KKS                    Doc 1        Filed 03/21/23                Page 8 of 10



 Debtor    Big Daddy Guns 2 Inc.                                                                     Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 RSR Group Inc                                                                 Disputed                    $102,020.96                        $0.00               Unknown
 Att: John F. Hayter
 1418 NW 6th Street
 Gainesville, FL
 32601
 World Wide                                                                                                   Unknown                         $0.00               Unknown
 Distributors
 8211 S 194th Street
 Kent, WA 98032
 Zen Capital                                                                   Disputed                 $3,433,367.05                         $0.00               Unknown
 3131 NE 7th Avenue
 Miami, FL 33137




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
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Big Daddy Guns 2 Inc.                RSR Group Inc
7600 NW 5th Place                    Att: John F. Hayter
Gainesville, FL 32607                1418 NW 6th Street
                                     Gainesville, FL 32601



Jose I Moreno                        World Wide Distributors
Jose I Moreno PA                     8211 S 194th Street
240 NW 76th Drive                    Kent, WA 98032
Suite D
Gainesville, FL 32607

ADt Security Services                Zen Capital
P.O. Box 317878                      3131 NE 7th Avenue
15250                                Miami, FL 33137




Amchar Wholesale Inc.
Bldg 1
P.O. Box 936676
Atlanta, GA 31193



Citarella Pest
P.O. Box 3308
Spring Hill, FL 34611




Cox Auto Pay
P.O. Box 3308
Spring Hill, FL 34611




Florida Department of Revenue
Account Management
Mail Stop 1-5730
5050 W. Tennessee Street
Tallahassee, FL 32399

MEGED Funding Group Corp.
12 Zeck Ct
Suffern, NY 10901




Redstone Advance Inc.
c/o: Todd Feldman Esq.
3050 Biscayne Blvd.
Suite 904
Miami, FL 33137
                        Case 23-10054-KKS          Doc 1      Filed 03/21/23      Page 10 of 10




                                         United States Bankruptcy Court
                                               Northern District of Florida
 In re   Big Daddy Guns 2 Inc.                                                       Case No.
                                                            Debtor(s)                Chapter    11




                            CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Big Daddy Guns 2 Inc. in the above captioned action, certifies that the following is
a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
Anthony M. McKnight
7600 NW 5th Place
Suite C
Gainesville, FL 32607




  None [Check if applicable]




March 21, 2023                                 /s/ Jose I Moreno
Date                                           Jose I Moreno 0659460
                                               Signature of Attorney or Litigant
                                               Counsel for Big Daddy Guns 2 Inc.
                                               Jose I Moreno PA
                                               240 NW 76th Drive
                                               Suite D
                                               Gainesville, FL 32607
                                               352-332-4422 Fax:352-332-4462
                                               jimoreno@bellsouth.net
